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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

 ADENIS ENRIQUE PRIETO
 REFUNJOL, et al.,
                                             :
                     Petitioners
                                                 Case No. 2:20-cv-2099
                                                 Judge Sarah D. Morrison
        v.
                                                 Magistrate Judge Chelsey M.
                                                 Vascura
 REBECCA ADDUCCI, et al.,                    :

                     Respondents.


                                      ORDER

      Petitioners filed their Petition for Writ of Habeas Corpus and Motion for

Temporary Restraining Order on April 24, 2020. (ECF Nos. 1, 2.) On August 6,

2020, Respondents and all Petitioners except Mory Keita and Alexis Portillo

Ramirez entered into a Consent Order, which resolved the matter as to the

consenting parties. (ECF No. 64.) Accordingly, Mr. Keita and Ms. Portillo

Ramirez—both of whom are unrepresented by counsel—are the only remaining

Petitioners. (See ECF Nos. 60, 65, 69.) Respondents voluntarily dismissed their

interlocutory appeal on September 9, 2020. (ECF No. 81.) Nothing further has been

filed since that date.

      The parties are hereby DIRECTED to file a written REPORT detailing the

status of this case ON OR BEFORE DECEMBER 16, 2020, unless they have filed

a dismissal entry in accordance with Federal Rule of Civil Procedure 41(a)(1)(A) in

the interim.


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      IT IS SO ORDERED.


                                     /s/ Sarah D. Morrison
                                     SARAH D. MORRISON
                                     UNITED STATES DISTRICT JUDGE




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